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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Criminal Case No. 1:20-cr-00386-1

UNITED STATES OF AMERICA,

               Plaintiff,

vs.

ALMUNDO CRUZ SINGER

               Defendant.


      ORDER REGARDING REQUEST FOR MODIFICATION OF THE CONDITIONS
                           OF SUPERVISION


      THIS MATTER is before the Court upon request by the probation officer to
modify conditions of supervised release on the above-named defendant.

         HAVING considered the probation officer's petition, the Court:

       ORDERS the defendant's terms of supervision be modified to include the
following special conditions:

         You must reside in a residential reentry center (RRC) for a period of up to
         180 days, to commence upon release from confinement or upon the first
         available vacancy at an RRC and must observe the rules of that facility.

         FURTHER ORDERS that all terms and conditions of supervision previously
      imposed remain in full force and effect.

          DATED at Denver, Colorado, this           day of May, 2021

                                           BY THE COURT:


                                             RAYMOND P. MOORE
                                             United States District Judge
